Case 1:15-cr-00614-SOM Document 112 Filed 11/09/16 Page 1 of 13            PageID #: 514



                                                                    flLEU IN THE
FLORENCE T. NAKAKUNI #2286                            UNITOO STATES DISTRICT COURT
                                                           DISTRICT OF HAWAII
United States Attorney
                                                                 NOV~0 9'1dt6
                                                                             --                )tJ
                                                                                  1
District of Hawaii

THOMAS J. BRADY #4472                                  at_
                                                             ~ o'clock anc;1 _        ~
                                                                                  m1n._   M.
Chief, Crimina l Division                                        sue !Jl;!T!A, CU!R~

DARREN W.K. CHING #6903
GREGG P . YATES #8225
Assistant U.S . Attorney
300 Ala Moana Blvd., Room 6-100
Honolulu, Hawaii 96850
Telephone: (808) 541-2850
E-mail: Darren.Ching@usdoj . g ov
         Gregg.Yates@usdoj.gov

Attorneys for Plaintiff,
UNITED STATES OF AMERICA

                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,              CR . NO. 15-00614 SOM

                                        SECOND SUPERSEDING INDICTMENT

                  Plaintiff,
                                        Count 1 :
                                        42 U .S. C. § 408(a) (2)
                                        Social Security Fraud

            vs.                         Count 2:
                                        42 U.S.C. § 1383a(a) (1)
                                        Social Security Fraud

                                        Count 3:
 GREGORY SCHER,                         42 U.S.C. § 1383 (a) (2)
   aka "Greg Scher,"                    Socia l Security Fraud
   aka "Gregory Armin Scher,"
   aka "Greg A. Scher,"                 Count 4:
                                        False Statement and
                                        Representation
                                        18 U.S . C. § lOOl(a) (2)
                  Defendant .
Case 1:15-cr-00614-SOM Document 112 Filed 11/09/16 Page 2 of 13       PageID #: 515




                                      } Count 5:
                                      } Representative Payee Fraud
                                      } 42 U.S.C . § 408(a} (4) (2)
                                      }
                                      } Count 6:
                                      } 42 U.S.C. § 408(a} (4) (1)
                                      } Social Security Fraud
                                      }
                                      }
                                        Count 7:
                                      }
                                        42 U . S.C. § 408(a) (5)
                                      }
                                        Representative Payee Fraud
                                      }
                                      }
                                      }   Count 8:
                                      }   42 U.S.C. § 408 (a} (3)
                                      }   Social Security Fraud
                                      }
                                      }   Count 9:
                                      }
                                          42 U.S . C. § (a} (4) (1)
                                      }
                                          Social Security Fraud
                                      }



                     SECOND SUPERSEDING INDICTMENT

                                COUNT 1
                         SOCIAL SECURITY FRAUD

           The Grand Jury charges that:

           On or about October 22, 2012, in the District of

Hawaii, defendant GREGORY SCHER, knowingly and willfully made

false statements and representations of material fact in an

application for Social Security Disability Insurance benefits

payments presented to the Social Security Administration, to

wit:   GREGORY SCHER falsely stated that in 2012 he was only

employed by Watts Construction from May 2012 to July 2012, when

in truth and fact, as he t hen well knew, he had other employment

besides Watts Construction.
                                     2
Case 1:15-cr-00614-SOM Document 112 Filed 11/09/16 Page 3 of 13   PageID #: 516




            Al l   in violation of Title 42, United States Code,

Section 408 (a) (2).

                                 COUNT 2
                          SOCIAL SECURITY FRAUD

            The Grand J ury f urt her c h a r ges tha t:

            On or about October 25, 20 1 2, in the District of

Hawaii, defendan t GREGORY SCHER, knowingl y and willfully made

false statements and representations of material fact for use by

the Social Securi ty Administration in his application for

Supplemental Security Income bene f i t s paymen ts , to wit:

      (1)   GREGORY SCHER f a l se l y stated tha t as o f October 25,

            2012, the on l y vehicle he own ed was a 2002 GMC Envoy,

            when in truth and fact, as he then we ll knew, he owned

            more vehic l es than just the 2002 GMC Envoy;

      (2)   GREGORY SCHER f alsely stated that as of October 25,

            2012, t he onl y bank accounts he had were a savings and

            a checking accou nt with Bank of Hawa i i, when in truth

            and fact, as h e then well knew, he had a bank account

            other tha n t h e savings and check i ng accounts wi th Bank

            of Hawaii;

      (3)   GREGORY SCHER falsely stated that as of October 25,

            2012, the value of his Bank of Hawaii checking account

            was $6 5 2.00 and the value of his Bank of Hawaii

            savings account was $800 . 02, when in truth and fact,

                                       3
Case 1:15-cr-00614-SOM Document 112 Filed 11/09/16 Page 4 of 13   PageID #: 517




             as he then wel l knew, that on October 25, 2 012, the

             value of his Bank of Hawaii checking account was more

             than $652.00 and the value of his Bank of Hawaii

             savings account was more than $800.02; and

      (4)    GREGORY SCHER f a lsely stated that he only received or

             expected to receive income in October of 2012, of

             $1,090 .00 in unemployment compensation from the State

             of Hawaii, when in truth and fact, as he then well

             knew, he received income other than the $1,090.00 in

             unemployment compensation from the State of Hawaii.

             All in violation of Title 42, United States Code,

Section 1383a (a) ( 1) .

                                  COUNT 3
                           SOCIAL SECURITY FRAUD

             The Grand Jury further charges that:

             On or about March 6, 2013, in the District of Hawaii,

defendant GREGORY SCHER, knowingly and willfully made fa lse

statements and representations of material fact for use by the

Social Security Administration in determining rights to

Supplemental Security Income benefits payments, to wit:

      (1 )   GREGORY SCHER falsely stated on his review statement

             summary for the Supplemental Security I ncome benefits

             program, that as of October 1, 2012 through March 6,

             2013, his househo ld included R . S., when in trut h and

                                     4
Case 1:15-cr-00614-SOM Document 112 Filed 11/09/16 Page 5 of 13   PageID #: 518




            fact, as he then well knew, as of January 2013 R .S.

            was not part of his household;

      (2)   GREGORY SCHER falsely stated on his review statement

            summary f or the Supplemental Security Income benefits

            program that as of March 6, 2013, the only vehicle he

            owned was a 2002 GMC Envoy, when in truth and fact, as

            he then well knew, he owned more vehicles than just

            the 2002 GMC Envoy ;

      (3)   GREGORY SCHER falsely stated on his review statement

            summary for the Supplemental Security Income benefits

            program that as of March 6, 2013, the only bank

            accounts he had were a savings and a checking account

            with Bank of Hawaii, when in truth and fact, as he

            then well knew, he had a bank account other than the

            savings and checking accounts with Bank o f Hawaii;

      (4)   GREGORY SCHER falsely stated on his review statement

            summary for the Supplemental Security Income benefits

            program that he only received or expected to receive

            income in October of 2012 of $1,090.00 in unemployment

            compensation from the State of Hawaii, when in truth

            and fact, as he then well knew, he received income

            other than the $1,090 . 00 in unemployment compensation

            from the State of Hawaii; and



                                     5
Case 1:15-cr-00614-SOM Document 112 Filed 11/09/16 Page 6 of 13   PageID #: 519




      (5)   GREGORY SCHER falsely stated on his review statement

            summary for the Suppl emental Security Income benefits

            program that h e last received a n unemployment check

            fro m the State of Hawaii o n October 1 9, 2012 , when in

            truth and fac t, as he then well k n ew, he r eceived

            unemployment checks from the State of Hawaii after

            October 19, 2012.

            Al l in violation of Tit l e 42, United States Code,

Section 1383a(a ) (2) .

                                COUNT 4
                  FALSE STATEMENT AND REPRESENTATION

            The Gr a nd Jury furt her charges that :

            On or about March 6, 2013, in the District of Hawaii,

defendant GREGORY SCHER , knowingly and wi l lfully made a false

statement and representation of material fact within the

jurisdiction of the executive branch of the Government of the

United States, to wit: GREGORY SCHER stated and represented to a

Social Security Administration representative that he had not

worked s ince Ju l y 15, 20 1 2, when in truth and fact, as he then

well knew, he had worked after July 15, 2012.

            All in violation of Title 18, United States Code,

Section 1001 (a) (2) .




                                     6
Case 1:15-cr-00614-SOM Document 112 Filed 11/09/16 Page 7 of 13   PageID #: 520




                                COUNT 5
                       REPRESENTATIVE PAYEE FRAUD

            The Grand Jury f urther c harges that:

            On or about April 11, 2013, and continuing to on or
                                                                                  '.
about April 15, 2014, in the District of Hawaii, defendant

GREGORY SCHER, in a ma tter within the j urisdi ction o f the Social

Security Administration, having knowledge of the occurrence of

an event affect ing the continued right to Social Security

Child's Insurance bene fits payments for his minor daughter,

I.L.S., on whose behalf he applied f or and was receiving such

payments , knowingly and willfully concealed and failed to

disclose such event with the intent to fraudulent ly secure

payments either in a greater amount than was due or when no

payment was authorized, to wit: GREGORY SCHER knowingly and

willfully concealed and failed to disclose the fac t that his

minor daughter , I.L.S., was not in his custody and otherwise

changed living arrangements, in order to continue to receive and

spend Social Security Child 's Insurance benefits payments made

to his minor daughter, I.L. S., to which he knew he was not

entitled.

            On or about April 12, 2013, to on or about January 7,

2 014, GREGORY SCHER was on release pursuan t to an o rder dat ed

Apri l 16, 2013 , from the Uni ted Stat es District Court District

of Hawaii, Case No. 1:13 - mj - 00535 - KSC, which orde r notified

                                     7
Case 1:15-cr-00614-SOM Document 112 Filed 11/09/16 Page 8 of 13   PageID #: 521




GREGORY SCHER of the potential effect of committing an offense

while on pretrial release .

            All in violation of Title 42 Section 408 (a) (4) (2) and

Title 18, United States Code, Section 3147(1).

                                COUNT 6
                         SOCIAL SECURITY FRAUD

            The Grand Jury further charges that:

            On or about April 16, 2013, and continuing to on or

about September 19, 2014, in the District of Hawaii, defendant

GREGORY SCHER, in a matter within the jurisdiction of the Social

Security Administration, having knowledge of the occurrence of

events affecting his initial and continued right to Social

Security Disability Insurance benefits payment, knowingly and

willfully concealed and failed to disclose such events with an

intent to fraudulently secure payment either in a greater amount

than was due or when no payment was authorized, to wit : GREGORY

SCHER having applied for, having been granted, and having

received, Social Security Disability Insurance benefits

payments, worked from on or about April 16, 2013, to on or about

August 28, 2014, and knowingly and willfully concealed and

failed to disclose this work to the Social Security

Administration as required, in order to receive benefits

payments to which he knew he was not entitled.




                                     8
Case 1:15-cr-00614-SOM Document 112 Filed 11/09/16 Page 9 of 13   PageID #: 522




            On or about April 12, 2013, to on or about January 7,

2014, GREGORY SCHER was on release pursuant to an order dated

April 16, 2013, from the United States District Court District

of Hawaii, Case No. 1:13-~j-00535-KSC, which order notified

GREGORY SCHER of the potential effect of committing an offense

while on pretrial release.

            All in violation of Title 42, United States Code,

Section 408(a ) (4) (1) and Title 18, United States Code, Section

3147 (1).

                                COUNT 7
                       REPRESENTATIVE PAYEE FRAUD

            The Grand Jury further charges that:

      On or about March 3, 2014 through on or about September 16,

2014, in the District of Hawaii, defendant GREGORY SCHER, having

made application to receive payments for the use and benefit of

another, and having received such payments, knowingly and

willfully converted payments, or any part thereof, to a use

other than for the use and benefit of the o ther person, to wit:

GREGORY SCHER while acting as Representative Payee for his minor

daughter, I.L.S., received I.L.S.'s Social Security Child's

Insurance benefits payments, to which he knew he was not

entitled, but converted these payments for his own use.

            All in violation of Title 42 Section 408 (a) (5)




                                     9
Case 1:15-cr-00614-SOM Document 112 Filed 11/09/16 Page 10 of 13   PageID #: 523




                                 COUNT 8
                          SOCIAL SECURITY FRAUD

             The Grand Jury further charges that:

             On or about July 20, 2014, defendant GREGORY SCHER, in

 a matter within the jurisdiction of the Social Security

 Administration, knowingly and willfully made        materia~ly    false

 statements and representations used by the Social Security

 Administration to determine continued rights to Social Security

 Disability Insurance benefits payments, to wit:

       (1)   GREGORY SCHER in a Work Activity Report (Form SSA-821

             BK) reported that as of July 2012 and up until July

             20; 2014, he did not receive any other payment or

             benefits from an employer in addition to regular pay

             (other than those he already disclosed in the Work

             Activity Report), when in truth and fact, as he then

             well knew, he received other payments from employers,

             and failed to disclose these payments to the Social

             Security Administration as required;

       (2)   GREGORY SCHER in a Work Activity Report (Form SSA-821

             BK) only reported that he was employed from September

             13, 2013 to February 21, 2014, at Kiewit

             Infrastructure West Co., when in truth and fact, as he

             then well knew, he was also employed from on or about

             April 7, 2014 to on or about July 12, 2014, and failed

                                     10
Case 1:15-cr-00614-SOM Document 112 Filed 11/09/16 Page 11 of 13   PageID #: 524




             to disclose this work to the Social Security

             Administration as required; and

       (3)   GREGORY SCHER in a Work Activity Report ( Form SSA-821

             BK) reported that he was "legally blind due to

             cataracts .... ", when in truth and fact, as he then

             well knew, he was not legally blind.

             All in violation of Title 42, United States Code,

 Section 408 (a) (3).

                                 COUNT 9
                          SOCIAL SECURITY FRAUD

             The Grand Jury further charges that:

             On or about June 5, 2016 and continuing to on or about

 October 16, 2016, in the District of Hawaii, defendant GREGORY

 SCHER, in a matter within the jurisdiction of the Social

 Security Administration, having knowledge of the occurrence of

 events affecting his initial and continued r ight to Social

 Security Retirement Insurance benefits payment, knowingly and

 willfully concealed and failed to disclose such events with an

 intent to fraudulently secure payment e ither in a greater amount

 t han was due or when no payment was authorized, to wit: GREGORY

 SCHER having applied for, having been granted, and having

 r eceived, Social Security Retirement Insurance benefits

 payments, worked from on or about June 5, 2016, to on or about

 October 16, 2016, and knowingly and willful l y concealed and

                                     11
Case 1:15-cr-00614-SOM Document 112 Filed 11/09/16 Page 12 of 13   PageID #: 525




 failed to disc l ose this work to the Social Security

Administration as required, in order to receive benefits

payments to which he knew he was not entit l ed .

            On or about June 5, 2016, and con tinuing to on or

 about October 1 6, 2016, GREGORY SCHER was on release pursuant to

 an order fi l ed on or about August 11, 2015, from the United

 States District Court District of Hawaii, Case No. CR 15-00614

 SOM, which order notified GREGORY SCHER o f the potential effect

 of committing an of f ense while on pretrial release .

 \ \

 \ \

 \ \
 \ \
 \ \
 \ \
 \ \
 \ \
 \ \
 \ \
 \ \
 \ \
 \ \
 \ \
 \ \

                                     12
Case 1:15-cr-00614-SOM Document 112 Filed 11/09/16 Page 13 of 13   PageID #: 526




             All in violation of Title 42, United States Code,

Section 408(a) (4) (1) and Title 18, United States Code, Section

 3147 (1).

             DATED:   November 9, 2016, at Honolulu, Hawaii.


                                          A TRUE BILL

                                          /s/ Foreperson, Grand Jury
                                          FOREPERSON, GRAND JURY


 FLORENCE T. NAKAKUNI




 GREGG P. YATES
 ASSISTANT U.S. ATTORNEYS




 UNITED STATES v. GREGORY SCHER,
 aka "Greg Scher," "Gregory Armin Scher,"
 "Gregory A . Scher," "Greg A. Scher"
 Cr . No. 15-00614 SOM
 SECOND SUPERSEDING INDICTMENT



                                     13
